                        Case 1:11-cr-00335-AWI Document
                                   UNITED STATES        7 Filed 11/16/11
                                                    DISTRICT     COURT Page 1 of 1
                                     EASTERN DISTRICT OF CALIFORNIA
In Re:
                                                                             ) Case No. 1:11-CR-00335 AWI
U.S. v. Bandele Jones                                                        )
                                                                             )
                                                                             )
                                                                             )

                                   APPLICATION FOR WRIT OF HABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                      (X) Ad Prosequendum                                  ( ) Ad Testificandum.
Name of Detainee:            USP Atwater, U.S. Penitentiary
Detained at (custodian):     1 Federal Way, Atwater, CA 95301
Detainee is:      a.)
                    (X) charged in this district by:
                           (X) Indictment                      ( ) Information            ( ) Complaint
                           Charging Detainee With: 18:1791 & 371 - Conspiracy to Provide an Inmate a
Prohibited Object; 18:1791(a)(2) & 1791(b)(1) - Possessing a Prohibited Object While Being an Inmate
         or       b.)      ( ) a witness not otherwise available by ordinary process of the Court

Detainee will: a.)         (X) return to the custody of detaining facility upon termination of proceedings
       or      b.)         ( ) be retained in federal custody until final disposition of federal charges, as a sentence is
                           currently being served at the detaining facility
Appearance is necessary forthwith in the Eastern District of California.
                                    Signature:   /s/ Yasin Mohammad
                                    Printed Name & Phone No: Yasin Mohammad / (559) 497-4000
                                    Attorney of Record for:  United States of America

                                         WRIT OF HABEAS CORPUS
                       (X) Ad Prosequendum                                   ( ) Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States Marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
further proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to
the above-named custodian.
November 21, 2011 at 8:30 a.m.                                       /s/ Gary S. Austin
Date November 15, 2011                                               United States District/Magistrate Judge
Please provide the following, if known:
 AKA(s) (if applicable):        BANDELE JONES                                         Male X
 Booking or CDC #:              03481-088                                             DOB:
                                                                                                 Race:    Black
                                                                                                 FBI #:
 Facility Phone:                     (209) 386-0257
 Currently Incarcerated For:

                                                         RETURN OF SERVICE

Executed on                   by
                                                                                   (Signature)



C:\WINDOWS\Temp\notes101AA1\Writ for Ad Prosequendum.FINAL.wpd
Form Crim-48                                                                                                  Revised 11/19/97
